Case: 4:23-cv-02259-BYP Doc #:1 Filed: 11/21/23 1 of 25. PagelD#: 1

Pro Se 14 (Rev. 12/16) Complaint for Violatlon of Civil Rights (Prisoner) FILED
UNITED STATES DISTRICT COURT NOV 21 2023

CLEAK. U.S. DISTRICT COURT
for the NORTHERN DISTRICT OF SHio

aH District of L 4 + CLEVELAND
orth eastern Division

Ae 23 CV 02259

(to be filled in by the Clerk's Office)

Ale Latonse Pry or

Plaintiffs)
(Write the full name of each plaintiff who is filing this complaint.
If the uames of all the plaintiffs cannot fit in the space above,
please write “see attached” in the space and attach an additional
page with the fiell list of names.)

Aymette Chavaber 5 - Smith
(see aflacwnent_addchonel defendants)

Defendant(s)
(Write the full naute of each defendant who is being sued, Ifthe
names of all He defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list of names. Do not include addresses here)

JUDGE PEARSON: <=

_ MAG JUDGE KNAPP

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COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
(Prisoner Complaint)

NOTICE

Federal Rules of Civil Procedure 5.2 addresses the privacy and seourity concerns resulting from public access to
electronic court files, Under this rule, papers filed with the court should nof contain: an individual's full social
security number or full birth date; the full name of a person known to be a minor; or a complete financial account
number. A filing may include only: the last four digits of a social security number; the year of an individual’s
bixth; a minor’s initials; and the last four digits of a financial account number.

Except as noted in this form, plaintiff nced not send exhibits, affidavits, grievance or witness statements, or any
other materials to the Clerk’s Office with this complaint.

In order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed in
forma pauperis.

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Pro Se 14 (Rev, 12/16) Complaint for Violation of | Civil Rights (Prisoner)

L The Parties to This Complaint

A The Plaintifi(s)

Provide the information below for each plaintiffnamed in the complaint. Attach additional pages if
needed.

Name dd t Latose yor

All other names by which .

you have been known: Al or yma wi La Fon I Gy ore

ID Number Let) ~Bé i i .

Current Institution “Hledo Correctional Tnsfitatu

Address oe) Cast antral Avenue
Toledo O# ZMOS

City State Zip Code

B. The Defendant(s)

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. Make sure that the defendant(s)
fisted below are identical to those contained in the above caption. For an individual defendant, include
the person’s job or title (ifknown) and check whether you are bringing this complaint against them in their
individual capacity or official capacity, or both. Attach additional pages if needed.

Defendant No. I 7}. edi
Name A n nett [ h civil pers Sym th
Job or Title (if known) ‘Oivectyr oF OPEC

Shield Number ; Kn .
Employer State gh Uw)
Address d645 Asher Road

City _Dlate Zip Code
(WA inaividuat capacity [otticiat capacity

Defendant No. 2

Name Acianna — rt ck

Job or Title (if known) ligutinent
Shield Number
Employer Trumbull Corechnal Last furs
Address A70 Burnett Kd.

Len OH _AYH80

° Cy State Zip Code
A tv capacity Aosta capacity

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Additional Defendants

K. Phiilips

Job- corrections officer
Title- corrections officer
Employer-Ohio department of corrections
Address-- 5701 burnett rd

Leavittsburg , Oh 44430-9713
Individual capacity; official capacity

Kostenko
e Job- Chaplain
e  Title- Chaplain

*

Employer- Ohio department of corrections
Address-- 5701 burnett rd

Leavittsburg , Oh 44430-9713
Individual capacity; official capacity

B. Evans

Job- Deputy warden
Title- Deputy warden of operations
Employer- Ohio Department of corrections
Address-- 5701 burnett rd

Leavittsburg , Oh 44430-9713
Individual capacity; official capacity

G. Booth

Job- Wardens Assistant
Title- Wardens assistant
Employer- Ohio Department of corrections
Address-- 5701 burnett rd

Leavittsburg , Oh 44430-9713
individual capacity; official capacity

Melissa Spatny

Job- Unit management chief
Title- UMC

PagelD #: 3
e

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2.

Employer- Ohio department of corrections
Address-- 5701 burnett rd

Leavittsburg , Oh 44430-9713
Individual capacity; official capacity

S. Smallwood

Job- Unit manager
Title- unit manager
Employer- Ohio department of corrections
Address-- 5701 burnett rd

Leavittsburg , Oh 44430-9713
Individuai capacity; official capacity

T. Corwin

Job- Corrections officer
Title-c/o
Employer- Ohio department of corrections
Address-- 5701 burnett rd

Leavittsburg , Oh 44430-9713
Individual capacity; official capacity

Job- corrections officer
Title- Corrections officer
Employer- Ohio department of corrections
Address-- 5701 burnett rd
Leavittsburg , Oh 44430-9713

‘ Individual capacity; official capacity

Theodore Jackson

Job- Deputy warden
Title- Deputy warden of special services
Employer- Ohio department of corrections
Address--- 5701 burnett rd

Leavittsburg , Oh 44430-9713
Individual capacity; official capacity

PagelD #: 4
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W.I.Cox

Job- Corrections officer
Title- C/O

# Employer- Ohio department of correctons

® Address-- 5701 burnett rd

* Leavittsburg , Oh 44430-9713

e Individual capacity; official capacity
B.M.Reghetti

Job- Corrections officer
Title- Corrections officer
Employer- Ohio department of corrections
Address-5701 burnett rd

Leavittsburg , Oh 44430-9713
Individual- | capacity; official capacity

Felepa Lowry

Job- Institutional inspector
Titie- Institutional inspector
Employer- Ohio department of corrections
Address-- 5701 burnett rd

Leavittsburg , Oh 44430-9713
Individual capacity; official capacity

T. Harris

Job- Mental health service provider
Title-MHL
Employer- Ohio department of corrections
Address- 5701 burnett rd.

Leavittsburg , Oh 44430-9713
Individual capacity; official] capacity

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Pro Se 14 (Rey. 12/16) Complaint for Violation of Civil Rights (Prisoner)

Defendant No, 3

Name ANGLE b :

Job or Title (fkrown} an Hh S rE CES

Shield Number
Employer ODRCTrerrbull Co weckonal LoS.
Address 370 Rurnetr

2d

pe ci ~ State Zip Code
A tnividua capacity Official capacity

Defendant No. 4

Name Ore (co ¢.

Job or Title (if brown) Mentor | h Cn [th Loa
Shield Number ,
Employer ODEC “Humbell Cot: Cechiwtul Tost.
Address F57al Bumet Ld:
City 3 State Zin Coda
‘fy | Individual capacity Official capacity

I. Basis for Jurisdiction

Under 42 U.S.C. § 1983, you may sue state or local officials for the “deprivation of any rights, privileges, ot
immunities secured by the Constitution and [federal laws].” Under Bivens v. Six Unknown Named Agents of
Federal Bureau of Narcotics, 403 U.S. 388 (1971), you may sue federal officials for the violation of certain
constitutional rights.

A

Are you bringing suit against (check all that apply):

| Federal officials (a Bivens claim)

State ot local officials (a § 1983 claim)

Section 1983 allows claims alleging the “deprivation of any rights, privileges, or immunities secured by
the Constitution and [federal laws].” 42 U.S.C. § 1983. Ifyou are suing whder section 1983, what
federal constitutional or statutory right(s) do you claim is/are being violated by state or local officials?

Tourteently Amendment (Retol tation) tree Esta blishu clause
Ficst Amendment Religious land se 4, tustfutional Suck

oa Persons ac
Plaintiffs suing under Bivens may only recover for the violation of certain constitutional rights. If you
are suing under Bivens, what constitutional right(s) do you claim is/are being violated by federal
officials?

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iv.

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Nib

4

dD. Section 1983 allows defendants to be found Hable only when they have acted “ander color of any
statute, ordinance, regulation, custom, or usage, of any State or Territory or the District of Columbia.”
42. U.S.C. § 1983. Ifyou are suing under section 1983, explain how each defendant acted. under color
of state ot local law. If you are suing under Bivens, explain how each defendant acted under color of
federal law. Attach additional pages if needed.

Prisoner Status

Indicate whether you are a prisoner or other confined person as follows (check all that apply):
Pretrial detainee

Civilly committed detainee
Immigration detainee
Convicted and sentenced state prisoner

Convicted and sentenced federal prisoner
af
Other (explain) MN J

Statement of Claim

OOOO

State as briefly as possible the facts of your case. Describe how each defendant was personally involved in the
alleged wrongful action, along with the dates and locations of all relevant events. You may wish to include
farther details such as the names of other persons involved in the events giving rise to your claims, Do not cite
any cases or statutes. If more than onc claim is asserted, number cach claim and write a short and plain
statement of each claim in a separate paragraph. Attach additional pages if needed.

A. LE the events giving rise to your claim arose outside an institution, deseribe where and when they arose,
nla
|
B. If the events giving rise to your claim arose in an institution, describe where and when they arose,

“Trembull Correction Ian st:tutcon (; Sve Mbochawel

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Pro Se 14 (Rov, 12/16) Complaint for Violation of Civil Rights (Prisoner)

c. What date and approximate time did the events giving rise to your claim(s) occur?

See Attecintuat

D. What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?
Was anyone else involved? Who else saw what happened?)

See Abach ment

V. = Injuries

If you sustained injurics related to the events alleged above, describe your injuries and state what medical
treatment, if any, you required and did or did not receive,

cut may wrists due to harassment (sel? infected)
Doplyad oe Spray int Face (oat blouk rang e) Lt A, Brock
mantel « emotional distress} cag revated PISD diag nosis; :
physcal restrained and hauled pad Lt imeoul cat) :

VI. Relief

State briefly what you want the court to do for yau. Make no legal arguments. Do not cite any cases or statutes.
If requesting money damages, include the amounts of any actual damages and/or punitive damages claimed for
the acts alleged. Explain the basis for these claims.

pursuant to (iio up 2G more thava bes 100)
Compansal org cra mages :
$ O.coNdnuaal dame gts

pourntivee damages for ve lication 4, Villation at
Cluuna.ges from each Delendou Codivekal a dileal comp acily)

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VI. Exhaustion of Administrative Remedies Administrative Procedures

The Prison Litigation Reform Act (“PLRA”), 42 U.S.C. § 1997e(a), requires that “[njo action shall be brought
with respect to prison conditions under section 1983 of this title, or any other Federal law, by a prisoner confined
in any jail, prison, or other correctional facility until such administrative remedies as are available are
exhausted.”

Administrative remedies are also known as grievatice procedures. Your asc may be dismissed if you have not
exhausted your admitiistrative remedies.

Yes
Cl No

If yes, name the jail, prison, of other correctional facility where you were confined at the fime of the
events giving rise to your claim(s).

A. Did your claim(s) atise while you were confined in a jail, prison, or other correctional facility?

Trumbull Corce how dnsttution

B. Does the jail, prison, or other correctional facility where your claim(s) arose have a gricvance
procedute?
A Yes
L_] no

r] Do not know . :

Cc. Does the grievance procedure at the jail, prison, or other cortectional facility where your claim(s) arose

covery'some or all of your claims?:
Yes

[j No
T] De not know

Lf yes, which claim(s)?

ky Cee (Be! ie)
Retaliation bu Vv alata q Fiet amendnent ieelior) 4j

Campo of (a GureSS WV eVE

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D, Did you file a grievance in the jail, prison, or othet correctional facility where your claim(s) arose

f.. the facts relating to this complaint?
Yes
[| No

Ifno, did you file a grievance about the events desorihed in this complaint at any other jail, prison, or
other correctional facility?

aie Nf

E. if you did file a grievance:

1. Where did you file the guevance?

Trumbull Cocre clonal “last tichow
4, What did you claim in your grievance?
Campa ft df hi ra ssmev T

Redal tection Denied! eight a practie_re lau
4 :

3, What was the result, if any?

(lo Vid Jafion oCtur red) -
Ruled In Lnvel a pt » SON Jt ictal’

4, What steps, if any, did you take to appeal that decision? Is the grievance process completed? If
not, explain why not. (Describe all efforts to appeal to the highest level of the grievance process.)

app valed ta the ch tet Li Spector The: prrcess
AILS complete :

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FE, If you did not file a grievance:

1. If there are any reasons why you did not file a grievance, state them here:

ALA

2. Ifyou did not file a grievance but you did inform officials of your claim, state who you informed,
when and how, and their response, if any:

a

G. Please set forth any additional inforrsation that is relevant to the exhaustion of your administrative
remedies,

Th fe ars 46 morrtal heal th ‘& rience A Was on

Sul cit ; watch and waS Trans irrtad to 10.C+ Le caning,
the pacess ,

(Note: You may attach as exhibits to this complaint any documents related to the exhaustion of your

administrative remedies.)

VEU. Previous Lawsuits

The “three strikes rule” bars a prisoner from bringing a civil action or an appeal in federal court without paying 7
the filing fee if that prisoner has “on three or more prior occasions, while incarcerated or detained in any facility, :
brought an action or appeal in a court of the United States that was dismissed on the grounds that it is frivolous,

malicious, or fails fo state a claim upon which relief may be granted, unless the prisoner is under imminent ,
danger of serious physical injury.” 28 U.S.C. § 1915(g). -

To the best of your knowledge, have you had a case dismissed based on this “three strikes rule”?
[] yes
ie
No
If yes, state which court dismissed your case, when this occurred, and attach a copy of the order if possible. oo

N JA

fi

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Pro Se. 4 (Rev. 12/16} Complaint for Violation of Civil Rights (Prisoner)

A.

Have you filed other lawsuits in state or federal court dealing with the same facts involved in this
action?

we

If your answer to A is yes, describe each lawsuit by answering questions | through 7 below. (ifthere is
more than one lawsuit, describe the additional lawsuits on another page, using the same format.)

1. Parties to the previous lawsuit
Plains) Al |?
Defendants) {| fF

Ul

2. hh court, name the district; if state court, name the county and State)

3. Docket or index number

Al lA

4, Name r Tudge assigned to your case

A

5. eit date of filing lawsuit
Ap
6, 1s the case still pending?

[] ves

No

Tf no, give the approximate date of disposition. N Ae
FAS

7. What was the result of the case? (For example: Was the case dismissed? Was judgment entered
in your favor? Was the case appealed?)

NA

Have you filed other lawsuits in state or federal court otherwise relating to the conditions of your
imprisopment?

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Pro Se 14 (Rev. £2/16) Complaint for Violation of Civit Rights (Prisoner)
[_] Yes
fe

A

D. If your answer to C is yes, describe each lawsuit by answering questions | through 7 below. (If there is
more than one lawsuit, describe the additional lawsuits on another page, using the same format. )

1. Parties to the previous lawsuit
Plaintifi(s) A ta
Defendant(s) INT?

2. Court (if federal court, name the district; if state court, name the county and State)

C~
3, en index number

4. Name il

i
"A

5. Approrimatl date of filing lawsuit
fj
AJA
(
6, Is the case still pending?
[] Yes

Tne

If no, give the approximate date of disposition N | A
© |

47 ‘What was the result of the case? (For example: Was the case dismissed? Was judgment entered
in your favor? Was the case appealed?)

“e assigned to yout case

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Pro Se f4 (Rev. 12/16) Complaint for Violation of Civil Rights {Prisoner}

IX. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, 1 certify to the best of my knowledge, information,

and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause

unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a

nonftivolous argument for extending, modifying, or reversing existing Jaw; (3) the factual contentions have

evidentiary suppott or, if specifically so identified, will likely have evidentiary support after a reasonable

opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the

requirements of Rule 11. "

A. for Parties Without an Attorney

L agree to provide the Clerk’s Office with any changes to my address whete case-related papers may be
served. I understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case.

Date of signing: [6- [fe 23

Signature of Plaintiff 4 L Pf ~ pr

Printed Name of Plaintiff © Coton Poker 9
Prison Identification # AFO0 -6.2 : '
Prison Address Toledo Corvechimal dnsh ICD east Contiel Ave,
toleco OH _+/360¥% SO
City State Zip Code
B. For Attorneys :
Date of signing: WANT.
Signature of Attorney / -
Printed Name of Attomey { / A LN /) fo
Bar Number [I J {| ft f
Name of Law Fim | / | L / | / / ,
ss POI TZ
S/o] V
City State Zip Coda L
‘Telephone Number
B-mail Address

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Jurisdiction & Venue

This is a civil action authorized by 42 U.S.C. section 1983 to redress the deprivation, under
color of state law, of rights secured by the constitution of the United States. The court has
jurisdiction under 28 U.S.C. section 1331 and 1343{a}{3), plaintiff seeks declaratory relief
pursuant to U.S.C, section 2201 and 2202. Plaintiff claim for injunction relief are authorized by
28 U.S.C, section 2283 & 2284 and rule 65 of the Federal rules of civil procedure. United States
District Court 6" District Court Northeastern Division is an appropriate venue under 28 U.S.C.
section 139(b)(2) because it is where the events giving rise to this claim occurred.

Plaintiff

Plaintiff, Nc LaFonse Pryor, is and was at all times mentioned herein a prisoner of the state of
Ohio in the custody of the Chio department of corrections. | am currently confined in Toledo
Correctional institution, in Toledo Oh.

Defendants

Annette Chambers-Smith (director of corrections}. State of Ohio Department of corrections is
legally responsible for the overall operation of the department and each institution under its
Jurisdiction, including Trumbull Correctional Institution.

Defendant Warden Davis is legally responsible for the operation of Trumbull Correctional
Institution & for the welfare of all the inmates in that prison.

Lieutenant Arianna Brock is the lieutenant for 15 east housing block of Trumbull Correctional
Institution in the Ohio department of corrections who at all times mentioned in this complaint
held rank of lieutenant. (SEE ADDITIONAL DEFENDANTS}

Exhaustion of legal remedies

Plaintiff Nc LaFonse Pryor used the prisoner grievance procedure available at Trumbull
Correctional Institution to try and solve the problem. On {see attachments} plaintiff Nc LaFonse
Pryor presented the facts relating to this complaint. On [see attachments] plaintiff Nc LaFonse
Pryor was sent a response saying that the grievance had been denied on [see attachments] |
appealed the denial of the grievances.

Legal claim

It has been held in several cases that the plaintiff has a right to study his religion. The religion
of his choosing. Allowed religious materials. Not forced to choose a particular religion or
religious study. See 411 F, Supp. 2d 983,989-90(denied right to practice for 3 months) (this case
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is roughly identical) see 514 F.3d 851, 853-54(holding beliefs based on prisoners “catholic
upbringing, his time spent studying other religions such as Buddhism a passage from the bible”
were protected by the RFRA; 937 F.2d 1521,1523.

Also see 393 F. Supp. 2d 80, 92 (Had books about other religion). See 497 F.3d 272, 278
(religious rights). See 373 F. Supp. 2d 822, 826 (took religious materials)

See 523 F. 3d 789, 800-02 (Denied right to attend other religious groups of other faith)

Denying me the right to participate in any religious services was not the least restrictive means
RFRA/RLUIPA, as held in worsoldier v. Woodford. Officials did not actually consider the least
restrictive means available 418 F.3d 989,999.

Also see 316 F.supp. 2d 868,881 (forbidding a prisoner to attend the services of the other
religions was a substantial burden) [holding defendant would have the option of showing that a
compelling interest required excluding him from those services].

Also being housed in LPH is no excuse to deny me religious services see 352 F.3d 582,597 (a
prisoner free exercise right to participate in religious services in not extinguished by his or her
confinement in special housing or keeplock.

| was denied all religious services. See 921 F. 2d 191,194 (denial of all religious services in
protective custody stated a constitutional claim)

Also see 2013 U.S. Dist. Lexis 86209 Granted in the plaintiff's favor, 2000 U.S. Dist. Lexis
21533(granted in favor of plaintiff).

My end result was due to retaliation by being denied the right to practice/study religion see
King v. Zamiara, 288 F.3d 207

The plaintiff is entitled to damages see Allah v. Al-Hafeez, 226 F.3d 247. Also see Sigger-El v.
Barlow, 433 F.supp. 2d 811.

1) | have a constitutional right to study & practice the religion of my choosing. “Protected
right”

2) The prison officials denying me of that right is an “Adverse Action”

3) Due to the alleged grabbing of the lieutenant’s hand inappropriate tickets; | was
retaliated against by being denied the right to attend religious services and receive a
campaign of harassment. Which is the “Causal connection”

This caused a substantia! burden on the plaintiff & this was not the least restrictive
means pursuant to (Religious Land & Use & Institutionalized Persons Act{RLUIPA}

Statement pursuant to R.C. 2969.25{A)

Actions filed in previous 5 years

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Facts and History

{ entered Trumbull Correctional Institution roughly the week of June 20" 2022, | was classed
on the DOTS portal a Muslim, Being a Muslim | attended all Muslim religious based classes or
programming. Mon,, Thurs., & Fri. 9:00 to 10: am was Arabic class to better understand the
original text of the Quran. Mon.,Thurs.,& Fridays 1:30 to 2:30pm(2:15 jummah) was the Taleem
class in which the Quran is explained to Muslim community, Also | was in the process of
learning about the Jewish religion because | had thoughts of converting to become a part of the
“Black Jewish Movement”. These classes were held Mon.,&Tues, at 8:00 am to 9:00 on weds,, |
attended Spanish devotional classes due to being a Spanish speaking prisoner. Approx. around
the end of July to the beginning of Aug. 2022, the Lt, Brock began to consistently stop me on
the walkway and ask to show her my passes, Even in the chow hall, | would be stopped and
asked where | was going. This continued from Aug, to Nov. At times | was even walked to
RH(restrictlve housing) for what Trumbull considers “time-out” (time-out is where your locked
in a cage roughly 3ft.x3ft, wide in segregation) .

On Nov. 28" again same thing. By this time the Lt. already knew where | was going. Frustrated
when the Lt. held out her hand to return the pass to me after | gave it to her..., | snatched it out
of her hand. She cuffed me up and walked me to segregation. Approx, At 8:30 | stood in “time-
out” until after count 11:30, After returning back to my block 14 east . My biological brother
was packing his property to go to LPH. | became extremely emotional & depressed. | consumed
alcoholic beverages & smoked mind altering substances. At approx. 4:00pm | received a
conduct report for being sexually inappropriate towards C/O Ms, Phillips. | was cuffed and
walked to segregation into the “time-out” holding cage again. My mental health status Under
the influence of alcohol & mind altering substances | was sexually inappropriate towards my
MHL(mental health liason) as well, | was Placed on suicide watch. While on suicide watch Ms.
Phillips worked segregation The range | was being held on watch. She denied me a lunch tray.
Eventually | covered my door so staff werent able to see in. The hostage negotiator was called
and staff eventually | removed the items covering my door. Roughly the first week of Dec. | was
transferred to LPH, Where Lt, Brock transferred to, to be the Lt. of the LPH house. Also Ms.
Phillips started choosing 15 east at least 3 or 4 times a week, All of my passes to religious
services were discontinued, The first week of Dec. | began kiting to receive the passes |
previously received

On Nov.28"" 2022 | received a conduct report against a Lieutenant (Arianna Brock) at Trumbull
correctional Institution. The conduct report was for the grabbing of the lieutenants’ hand (rule

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25). [was issued 30 days in LPH after being found guilty at the sergeants hearing. Approx. the
week of the 8" | was transferred to 15 east, My passed for religious services for taleem and
Jummah were discontinued. After my request for religious services were denied | commenced
sending kites to administration asking them to address the issue.

On as early as 12/14/2022 (see exhibit C), | sent a kite to the deputy warden of operations
stating: “Trumbull correctional Institution administrators are using the denial of the right to
study and practice religion as a means of punishment. In the mornings mon., Thursdays, and
Fri,, at 9:00 are Quranic language. However, Mon., Thurs., and Fri. at 1:30 is Taleem- which is
the teachings of the Quran. Fri. (2”15) if Jummah — which is Prayer. Muslim prisoners do not
have a right to the Quranic language class but are entitled to the services for religion, The
restriction is not reasonably related to a penological interest. The free exercise clause of the
first amendment protects your right to follow the practices of your religion, like eating kosher
food, covering your hair, or praying at a certain time. | need you to rectify this problem as it is
within your power. The issue was not addressed.

On 12/16/2022 (see exhibit C2) | sent a kite to the warden’s office stating: “| NEED A PAPER
COPY OF THE ODRC POLICY THAT STATES LPH PRISONERS ARE NOT ALOUND TO PRACTICE OR
STUDY RELIGION WHILE BEING HOUSED IN THE LPH UNIT”, The warden’s assistant’s response
was “If you are in LPH you are afforded religious services, Whatever your denomination is, you
are entitled and encouraged to attend the service or mass. Kite the chaplain’s office to be
passed to a requested service or mass. Also on the date above | sent a kite to religious services
again requesting passes to jummah and Taleem.

Also on the 12/16/22 (see exhibit C4) | was not given any pass to taleem or jummah that Friday.
However previously to being housed in LPH [ received these passes so | sent a kite stating; |
would like to receive passes to Taleem and jummah. Also requested passes for taleem and
jummah on this date via kite.

ON 12/19/2022 (see exhibit C5) | sent a pass to the Unit Management Chief stating: “Il am
being denied the right to attend religious services. | respectfully request your assistance”. The
response from the UMC was “You need to follow up with the chaplain or his boss. the DWSS”.
Also on 12/19/2022 | sent a kite to the Unit manager of 15 east stating: “According to LT. A.
Brack, Chaplain K., and whoever issues the passes | may not attend religious services at all. So |
would like a paper copy of the paper signed by the chaplain K. posted on the staff desk that
basically states the same thing and a copy of the ODRC policy pertaining to the same. Which in
turn violates my right to practice/study my religious beliefs. This violates my free Exercise

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Clause of the first amendment. This is a lawsuit | need you to help me attend my weekly passes
to religious services. If | do not receive all of my religious passes that | normally receive I’m
going to file an injunction with the courts immediately stating my and all other LPH prisoners 1°
amendment rights are being violated, That the exhaustion requirement can be skipped due to
the immediate continuation of the violation, And the immediate irreparable damage its causing
prisoners, mentally and spiritually. Possibly causing prisoners with life/lengthy prison sentences
to deteriorate mentally causing serious mental health concerns thoughts/attempts of suicide”.
Unit manager Smallwood responded stating: You are allowed to attend religious services while
housed in LPH”.

ON 12/20/2022 (see exhibit D2) | was issued a pass to attend Chapel/Biblical
Hebrew/Armstrong bible study. | was issued a conduct report for Physical resistance to a direct
order; Disobedience of a direct order; The ticket reads “ON the above date and time, inmate
Pryor #700-536 came out of his ceil to go to an 8:00 pass to chapel/Hebrew. Pryor was advised
by Lt. Brock that per LPH rules he is not allow to attend these types of passes. Pryor was then
instructed to go back to his cell and lock down. Pryor refused to lock down and was advised
that if he was not going to lock down, he would go to TPU. Pryor still refused while CO Fusillo
was attempting to place hand restraints on him, Pryor pulled his hands away from Fusillo
multiple times, Therefore, | find Pryor in violation of R-20 and R-21,

On 12/25/22 (see exhibit D3) | sent a grievance to the deputy warden of special services
stating: My first amendments rights are being violated. Not being allow to practice my religion
or being forced to practice a certain religion against the US constitution. | would like a paper
copy of the ODRC policy that pertains to LPH prisoner attending religious services.

On 12/27/22 The staff response was that LPH prisoners could attend their declared religious
worship services, These services are at special times. LPH prisoners will sit away from general
population inmates. LPH inmates will not be allowed to attend any other service.

On 12/28/22 (see exhibit D5; 14;13} 1 was issued a pass to attend Spanish Devotional. | was
issued a conduct report for a rule 35 being out of place. The conduct report stating; On time
and date above | was on post in the chapel when Inmate Pryor 700-536 came to a Spanish
devotional pass. He has been told by Lt. Brock that he is not to go to this pass due to being in
LPH. I'm charging him with a 35.

The following week | was unable to attend any religious services.

On 12/31/22 (see exhibit E} | received a conduct report from Ms. Phillips which reads: On Dec.
31, 2022 | C/O Phillips while working 15 east was walking the block out from chow when inmate
Pryor#700-536 started mumbling under his breath he said “I’m gonna get my you | just don’t

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know how yet, maybe in the cell, but then your man down will go off” | then activated my body
camera, turned around and said “what? Are you threating me” | called shift they sent yard to
come get my camera and said they would review the footage.| responded: “I was speaking with
someone else and responded Im not talking to you whats wrong with you?”

On 1/1/2023 (exhibit E2} | received another conduct report which reads: On January 1, 2023 |
C/O Phillips and C/O Barron was walking out of work, as we approached 15 East we could hear
inmate Pryor 700536 yelling out of his cell window. He sald “fantasies about it happening, its
either going to be in the shower or my cell, im gonna fuck you so hard in your ass” the day
before he threatened me and | activated my camera and told shift, and also wrote him a ticket,
but for this incident report since he has made numerous threats to me. Again placing actions
not on me to retaliate against me, You cannot see through the windows from the walkway at
trumbuil correctional unless it’s at night time and the cell light is on. The prison is built so the
block windows face the walkway and several inmates call (cat-call) out of the windows daily
however | was the person she decided said these things.

On 1/26/2023 (see exhibit E3} 1 was issued a conduct report by C/O Timberlake. C/O Phillips
told C/O Timberlake that | was inside of the shower masturbating. The shower door was fully
closed. And at RIB the RIB official stated as much. However, ! was still found guilty (the shower
door is wood and not see through). On this date Lt, Brock came from her office to deploy a can
of OC point blank range in my face. | was not being aggressive or threating.

Also on 1/26/23 (see exhibit E4 & G5) | received rule infraction for 20,21 (physical resistance to
a direct order; disobedience of a direct order. Which lead to me being escorted to restrictive
housing, Lt. Brock ordered a 2.4 of my property (a 2.4 is when the staff make sure none of your
property is contraband and it fits within the weight limits of the ODRC policy. However, items
were confiscated that were not a part of the 2.4 policy. Electronics are not a part of the policy,
along with state issued clothing. Also my religious head gear was confiscated and my Quran was
confiscated. Also on 1/26/23 Lt. Brock told C/O Reghetti to conduct a 2.4 pack-up. In which
several items that weren't contraband were confiscated along with my kufis and my Quran that
was issued to me from the mailroom and the religious services (on 7/01/23 the institutional
inspector stated in a response to a grievance that my hot pot and fan should’ve not been in the
2.4 and will be returned to me, However, | never received these Items of today). Also my TV
was damaged.

On 2/17/23 (see exhibit E5) after being released from TPU | filed a grievance after receiving my
property. On 3/20/23 The inspector of the institution granted my grievance and awarded me a
replacement TV.
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On 2/23/23 (see exhibit F2-G) | had a mandatory pass to mental health in which | was
demanded to leave by MHL Darkangelo for twisting her doorknob when walking past her office.
Mrs, Darkangeio stated she was going to write me a ticket for establishing a relationship. | filed
a grievance upon returning to the block stating: “I received a mandatory pass to mental health
upon entering the building | went towards the metal detector and before | reached it | stop at
Mrs. Darkangelo office and twisted the knob to the door and continued walking through the
metal detector. Mrs. Darkangelo came out of her office and yelled that | leave and that | was
getting a ticket for establishing a relationship. | did nothing wrong, | didn’t even speak.

The administrator of the mental health department (Dr, Coe) responses stating: Due to my
sexually inappropriate behavior in the presence of Ms. Darkangelo(date 11-28-22 your actions
were totally inappropriate and perhaps even traumatizing. You are no longer allowed to enter
15 west annex at all from this point on.

On 3/30/23 | attempted suicide due to the continuous caimpain of harassment. MHL Jennings
stated: “| wish you would cut through your whole wrist fuck you. You're not seeing anyone. The
way you treat women” | did not file a grievance however i did convey this to Mental health staff
& it should be documented In their files

On 6/14/23()see exhibit G3) | received a ticket from Lt, Brock (the ticket ultimately leading to
my recommendation for a level raise) was A rule 11c, and 59 violations for asking the Lt. if she
called my name after yelling someone’s name from the property room. The ticket states: On
16/14/23 at approx, 9:57am | Lt. Brock was in the center of 15 east when Inmate Pryor#700-
536 left the table while working out and walked directly to the center section where he knew |
was after maintenance opened the door. When Pryor approached the door he asked if | called
his name, | immediately told Pryor to get out of the center section which he replied “!’m not in
the center” while standing in the door way keeping the door from closing. Inmate Pryor has
been told multiple times about his behavior being inappropriate/stalking like with myself
however continued to yell things at me from his cell such as “hey sexy mama”. | wrote Pryor a
previous ticket for Intentionally grabbing my hand on 11-28-22 and stated in that ticket how
Pryor was told multiple times about his interactions and comments with myself at that time,
Pryor obviously continues to show the same behavior. Pryor has also written myself
inappropriate kites stating this such as “you continue to poke a bear and pour honey all over
yourself, Stop interfering with my time”, On 12-20-22, I’m having problems with my GTL tablet
music. Some of the songs aren’t downloading or playing correctly. For instances the song by
Pittbull-secret admire isn’t working, 1-4-23, insinuating that he’s my secret admire. He also
addressed multiple kites to myself as Lt. Brock however on 2-11-23 he addressed my name as a
partial of my first and my maiden name. | replied to these kites telling him to stop being

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inappropriate and if he continued they would be sent to the investigator, In addition to the
listed situations Pryor continuously walks close to myself on purpose and comes to the
office/area I’m in jingling the door handle and smiles just to make me acknowledge him. (Upon
review of the conduct reports written 1-26-23 & 6-14-23 the Lt, gets addressed by both names.

On 7/7/2023 (see exhibit H2 & H3)} 1 initiated my first attempt at the grievance procedure for
the retaliation of Lt, A. Brock towards me stating: | was issued a conduct report by Lt. Brock for
asking if she called my name. The basis of the ticket was from allegations that were several
months prior and do not rise to the level of a conduct report, This is retaliation. Also
administration is using this incident to raise my level.

Also on this date | filed a separate grievance for retaliation. Between the months of June and
July the prison was in the process of transferring Jpay systems at times | was incapable of filing
a grievance either due to this or due to being on suicide watch. The prison transitioned to
allowing prisoners to have the new phone tablets, You are not allowed to have the tablet on
suicide watch

On 7/13/2023 (see exhibit H4) | cut my wrist trying to commit suicide due to the campaign of
harassment and retaliation, On 7/14/23 MHL Harris came to asses me. In his assessment he
determined that | was not trying to commit suicide by rather that | was trying to extort the
mental health department and wrote me up for extortion and that | was a threat to the
institution. This also contributed to the rise of my level.

On 7/28/23 | was taken off constant watch by Dr. Coe. By his own admission | did not engage
with him during the assessment only stared out of the window. {see grievance dated
8/11/23#TCI000000000523), After he and the constant watch officer left | proceeded to
attempt suicide by slicing my wrist with a razor blade. Approx. 11:30 | was taken from the “safe-
cell” and placed in a “time-out” cage. UMC Ms. Spany; UM S. Smallwood; & Dr. Coe returned |
was taken into the SMP hearing/room while my wrist was still bleeding. The Management team
ran the hearing then | was placed back on constant watch.

On 7-29-2023 (see exhibit H5) MHL Darkangelo came to assess me while on suicide watch
however she did not assess me. | was allowed to file a grievance on 8/4/2023 which reads: On
7-29-2023 | was not assessed by mental health staff while on constant watch. Approx. 6:30
apparently mental health staff came however the camera footage will show that | was not
spoken to or assessed.

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| was unable to finish this grievance because | was transferred on 8-8-2023 At the new facility |
did not have access to the grievances filed at TCI.

On 8/22/23 (see attachment exhibit | & exhibit 12) | filed a grievance for the campaign of
harassment.
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Statement of claim

Lt. A. Brock directly denied me the right to attend any religious services
for roughly 2 months at least. In retaliation for the alleged grabbing of
her hand and for filing grievances in response to this constitutional
violation. A violation of the first amendment free exercise clause
religious land use & institutionalized people’s act; free establishment
clause, C/O Corwin and Fusillo; W.J. Cox were directly involved for
issuing conduct reports or physically restraining me for trying to attend
the religious passes | was issued. C/O Reghetti Packed my 2.4
confiscating Kufis and Quran items and electronic items that did not per
policy need to be placed in the 2.4 box to further the retalitation and
violation of my first amendment. Chaplain Kosenko, Deputy warden B.
Evans; Warden Assistant G, Booth; Unit manager chief Melissa Spatny;
Unit manager S. Smallwood ; Deputy Warden Theodore Jackson; Inst.
Inspector Felepa Lowry were indirectly involved for allowing these
violations to continue after several kites and or greivances were sent to
them regarding the constitutional violations. And the violations
continued. (Imam does not make weekly rounds through LPH & RH).
C/O K. Phillips; MHL M. Darkangelo; Lt. A. Brock directly contributed to
the retaliation and campaign of harassment through conduct reports &
Denial of mental health treatment MHA Dr. Coe indirectly contributed
to the constitutional violation by perpetuating the violation after the
grievance was sent to him in regards to the retaliation & harassment &
Denial of mental health treatment. MHL T. Harris wrote the final
conduct report of harassment assisting in my transfer from the
institution. For attempting to commit suicide for extortion. Approx.
between 8-01-22 to 8-8-23 acting under color of state law (Monroe V.
Pape
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“U.S, Dist. Lexis 178785

-U.S. App. Lexis 8729

-ULS. Lexis 4219

Prayer for relief

Wherefore, plaintiff respectfully prays that this court enter judgment granting plaintiff:

e Adeciaration that the acts and omissions described herein violated plaintiff's rights
under the constitution and laws of the United States.

« Compensatory damages against each defendant, jointly and severally.

e Punitive damages

e Nominal damages

¢ = =Ajury trial on all issues triable by jury

e Plaintiffs costs in this suit

e And any additional relief this court deems just, proper and equitable.

Date: (0 - 29- HOZS

Sign: Y
WT 7) Verification

| have read the foregoing complaint and hereby verify that the matters alleged therein
are true, except as to matters alleged on information and belief, and as to those, !
believe them to be true. | certify under penalty of perjury that the forgoing is true and

correct.
Executed at
Sign: Ty

Plaintiff

